                                 department
Kj               I INV of INSURANCE
               '5'
                                                                                                               2
                                                                                                SERVICE OF PROCESS
     rns**’          MIKE TAIKPY
                     MllfC CAUSEY, mMMICC;mMPR
                                   COMMISSIONER                                        Tel 919.716.6610 Fax919.716.6757




                                                        15 April 2024
                                                                            CENTRALIZED OPS
                                                                               HARTFORD
               CERTIFIED MAIL
               RETURN RECEIPT REQUESTED
                                                                                APR 2 9 202't
              Hartford Fire Insurance Company                                    received
              One Hartford Plaza                                                     JM.
              Hartford, CT 06155


                      Re:    Jill Reyna

                                vs.                             Mecklenburg Co. File No. 24 CVS 13293-590

                             Hartford Fire Insurance Company


              Dear Corporate Secretary;

                      Enclosed herewith are document[s] Civil Summons and Plaintiff’s Complaint in the above
              action which this Department received on April 9,2024.




                                                         Mike Causey
                                                         Commissioner of-Insurance


                                                                 L/
                                                         Courtney H. Ethridge
                                                         Special Deputy for
                                                         Service of Process

              Enclosure




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                    DEPARTMENT
                    ofINSURANCE                                                       SERVICE OF PROCESS
      MIKE CAUSEY, COMMISSIONER                                             Tel 919.716.6610 Fax 919.716.6757




Jill Reyna

             vs.                                     Mecklenburg Co. File No. 24 CVS 13293-590

Hartford Fire Insurance Company


       I, Courtney H. Ethridge, a Special Deputy duly appointed for the purpose, do hereby accept
service of the Civil Summons and Plaintiff’s Complaint in this action and acknowledge receipt of a
copy of the same, under the provision of the North Carolina General Statute Section 58-16-30 as
process agent for Hartford Fire Insurance Company.


       This the 9th day of April, 2024.

                                              Mike Causey
                                              Commissioner of Insurance




                                              Courtney H. Ethridge
                                              Special Deputy for
                                              Service of Process




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